UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
JANE DOE,                                                       :
                                                                : Civil Case No.: 1:23-cv-10628 (JGLC)
                                    Plaintiff,                  :
                                                                :
                  v.                                            :
                                                                :
SEAN COMBS; HARVE PIERRE; THE THIRD                             :
ASSAILANT; DADDY’S HOUSE RECORDINGS, :
INC. and BAD BOY ENTERTAINMENT                                  :
HOLDINGS, INC.,                                                 :
                                                                :
                                    Defendants.                 :
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                   DECLARATION OF DOUGLAS H. WIGDOR IN SUPPORT
                 OF PLAINTIFF’S MOTION TO PROCEED ANONYMOUSLY

I, Douglas H. Wigdor, hereby declare as follows:

        1.      I am a partner at Wigdor LLP and counsel for Plaintiff Jane Doe.

        2.      I make this Declaration in support of Plaintiff’s motion to proceed anonymously.

        3.      The identity of Plaintiff Jane Doe was confidentially disclosed to counsel for

Defendants prior to the filing of the Complaint.

        4.      The Complaint was filed on December 6, 2023.

        5.      In this action, Plaintiff has not spoken publicly about the incidents that underly the

causes of action in her Complaint.

        6.      On December 9, 2023, counsel for Defendants indicated that Defendants do not

consent to Plaintiff’s motion to proceed anonymously.

        7.      I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge.

Dated: December 11, 2023                                        __________________________
       New York, New York                                             Douglas H. Wigdor
